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                                                                                                    Revised: March 8, 2018



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                                 :
 Tyrone Massey                                                   :
                                                                       20 8067
                                      Plaintiff(s),              : No. __-cv-____ ( RA ) (OTW)
                                                                 :
                        -against-                                :
                                                                 :
                                                                 :
 City of New York, et al.                                        :
                                      Defendant(s).              :
                                                                 :
-------------------------------------------------------------x

                          PROPOSED CASE MANAGEMENT PLAN FOR PRO SE CASE

    1. Summary of Claims, Defenses, and Relevant Issues.

        Plaintiff/Defendant (circle one)
        ________________________________________________________________________
    Plaintiff alleges that, on September 4, 2020, he cut himself because he was experiencing a mental health crisis
        ________________________________________________________________________
       and  Captain Holder did not intervene and denied him medical attention. Instead, Plaintiff was sprayed with
      chemical   agent. Further, Plaintiff alleges that the City of New York is liable for failure to train its employees to
        ________________________________________________________________________
    give inmates medical attention. Plaintiff has claims for deliberate indifference to medical needs, excessive force,
     and________________________________________________________________________
          municipal liability. Defendants assert that Plaintiff broke a light fixture in his cell and was repeatedly told to
        ________________________________________________________________________
     drop  the glass by several officers or he would be sprayed with chemical agent. When Plaintiff failed to comply
              he was sprayed, restrained, and escorted to a decontamination shower and the medical clinic.
        ________________________________________________________________________

    2. I understand my obligation to preserve – and am preserving – relevant information.

         Plaintiff/Defendant (circle one)

    3. Proposed Schedule.

All discovery should be completed by ____________________________
                                                June 8, 2021



                   a.        Depositions: Depositions shall be completed by ____________
                                                                              June 8, 2021


                   b.        Neither party may take more than ______  7
                                                                          depositions. Absent an
                             agreement between the parties or an order from the Court, non-party
                             depositions shall follow initial party depositions.

                   c.        Initial Requests for Documents must be made by ____________.
                                                                              March 25, 2021


                   d.        Responses to Requests for Documents must be made by
                             ___________________.
                                 April 24, 2021
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             e.      Documents from third-parties (such as doctors) will/will not (circle one)
                     be required. If required, the following are the third-parties from whom
                     Documents will be requested.

                     ____________________________________________________________
                        Documents will be required from third parties. Defendants will need
                     ____________________________________________________________
                        documents from Correctional Health Services.
                     ____________________________________________________________
                     ____________________________________________________________

             f.      Subpoenas requesting Documents from third-parties must be served by
                     _________________.
                         May 11, 2021       Documents obtained from third-parties must be
                     provided to all parties in this matter.

             g.      There will/will not (circle one) be expert testimony in this case. If expert
                     testimony will be needed, please describe the topic on which the
                     expert(s) is expected to testify:
                     ____________________________________________________________
                        Plaintiff will need two experts: (1) a mental health expert who will testify about the risk involved
                        when a person doesn’t receive seizure medication and the risk of someone killing themselves, and
                     ____________________________________________________________
                        (2) New York City Department of Corrections expert to testify about deescalation, crisis intervention,
                     ___________________________________________________________
                        training for irate and frustrated individuals, interpersonal skills, and training techniques.


4. Early Settlement or Resolution.

The parties have/have not (circle one) discussed the possibility of settlement. The parties
request a settlement conference by no later than ___________________. May 11, 2021             The following
information is needed before settlement can be discussed:
___________________________________________________________________________
        Responses to Interrogatories and Document Requests, any video of the incident, and medical records.

___________________________________________________________________________
___________________________________________________________________________


5. Other Matters.

Plaintiff(s)/Defendant(s) (circle one) wish to discuss the following additional matters at the
Initial Case Management Conference.
___________________________________________________________________________
    Plaintiff wishes to discuss the following: injunctions, obtaining and preserving video,
___________________________________________________________________________
    DOC employees affording Plaintiff his minimum standards while on video, and,
___________________________________________________________________________
    whenever Plaintiff is escorted somewhere, he wants to be on video
______________________________________________________________




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Respectfully submitted this ____day of _______.
                                         March


/s/ Qiana Smith-Williams
 _________________________________

 Name
     100 Church Street, New York, NY 10007
 _____________________________________
 Address

 ____________________________________
        212-356-2360
 Phone number
           qwilliam@law.nyc.gov
 ____________________________________
 Email
Captain Holder and City of New York
____________________________________

Party representing (if applicable)




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